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                            UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF INDIANA
                                 INDIANAPOLIS DIVISION

 IN RE:                                               )
                                                      )
 ITT EDUCATIONAL SERVICES, INC., et al. 1             )       Case No. 16-07207-JMC-7A
                                                      )
          Debtors.                                    )       Jointly Administered

                       TRUSTEE’S MOTION FOR AUTHORITY
              TO ENTER INTO SETTLEMENT OF STUDENT CLASS ACTION

          Deborah J. Caruso, the chapter 7 trustee (the “Trustee”) 2 in the above-captioned cases of

 ITT Educational Services, Inc. (“ITT”), et al. (collectively, the “Debtors”), by counsel,

 respectfully submits this motion (collectively, the “Motion”), pursuant to sections 105(a) and 363

 of title 11 of the United States Code (the “Bankruptcy Code”) and rule 9019 of the Federal Rules

 of Bankruptcy Procedure (the “Bankruptcy Rules”), for entry of preliminary and final orders,

 substantially in the forms attached as Exhibit 1 and Exhibit 2 (collectively, the “Proposed

 Orders”) to the Class Action Settlement Agreement, attached hereto as Exhibit A (the “Class

 Action Settlement”), (a) approving the terms of the Class Action Settlement by and among (i) the

 Trustee, not individually but as the chapter 7 trustee for the Debtors, and (ii) Jorge Villalba,

 James Eric Brewer, Joshua Cahill, Juan Hincapie, and Cheryl House (the “Class

 Representatives”), on behalf of themselves individually and the Settlement Class (collectively,

 the “Students”), and (b) granting related relief. In support of the Motion, the Trustee respectfully

 avers as follows:



 1
     The debtors in these cases, along with the last four digits of their respective federal tax
     identification numbers, are ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117];
     and Daniel Webster College, Inc. [5980].
 2
     Capitalized terms used but not defined herein have the meanings given to them in the
     Settlement Agreement (as defined herein).
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                                            Jurisdiction

         1.     The Court has jurisdiction over the Motion pursuant to 28 U.S.C. §§ 157 and

 1334.

         2.     This is a core proceeding within the meaning of 28 U.S.C. §157 (b)(2).

         3.     Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

         4.     The statutory bases for the relief requested herein are sections 105(a) and

 363(b)(1) of the Bankruptcy Code and Bankruptcy Rule 9019.

                                           Background

         5.     On September 16, 2016 (the “Petition Date”), each of the Debtors filed a

 voluntary petition for relief under chapter 7 of the Bankruptcy Code. The Trustee was appointed

 interim trustee in each of the Debtors’ bankruptcy cases on the Petition Date pursuant to section

 701(a)(1) of the Bankruptcy Code. The Trustee became the case trustee in each of the Debtors’

 bankruptcy cases following the conclusion of the first meeting of creditors on November 1, 2016,

 pursuant to section 702(d) of the Bankruptcy Code.

         6.     On October 4, 2016, the Court entered its Order Granting Motion for Joint

 Administration of Chapter 7 Cases [Docs 221-222], directing the Debtors’ bankruptcy cases to

 be jointly administered for procedural purposes only.

         7.     Prior to the Petition Date, the Debtors as a whole were engaged in the for-profit

 enterprise of providing postsecondary degree programs in 137 campus locations in thirty-nine

 states and through online services.

         8.     ITT was a publicly-held company that, as of June 30, 2016, employed over 8,000

 employees. ITT offered master, bachelor, and associate degree programs to approximately

 40,000 students at its campus locations and online programs to students located in all fifty states

 and the District of Columbia. All of ITT’s campus locations were authorized by applicable

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 education authorities of the states in which they operated and were accredited by an accrediting

 commission recognized at the time by the U.S. Department of Education.

        9.      Webster College was founded in 1965 in Nashua, New Hampshire, as the New

 England Aeronautical Institute (the “NEAI”). In 1978, the NEAI was merged with its junior-

 college division to form Webster College, a private institution with a focus on business

 education.

        10.     Prior to the Petition Date, the Debtors loaned money to their students to finance

 tuition and other charges and fees owed to the Debtors (the “Student Receivables”). The Student

 Receivables are seller-financed debt, and the Debtors’ principal business was not the extension

 of credit. The Debtors contracted with University Accounting Services, LLC (“UAS”) to service

 certain of the Student Receivables. If a Student Receivable became delinquent, the Student

 Receivable would be placed with FirstSource Financial Solutions, Inc./One Advantage

 (“FirstSource”), Security Credit Systems, Inc., Premiere Credit NA, General Revenue

 Corporation, or other credit agencies for collection.      As of the Petition Date, there was

 approximately $30,000,000.00 in Student Receivables placed for servicing and/or collection with

 UAS and FirstSource.       In addition, as of the Petition Date, ITT held approximately

 $630,945,284.00 in additional Student Receivables that have not been placed with UAS,

 FirstSource, or any other servicer or collection agency.      As of the date of the Settlement

 Agreement, ITT holds approximately $560,000,000 of Student Receivables (due to adjustments

 made and to be made to ITT’s books and records relating to tax returns for ITT’s 2016 fiscal

 year). The Students dispute the validity of the Student Receivables.

        11.     Prior to the Petition Date, the Debtors transferred title to certain Student

 Receivables to CU Connect CUSO, LLC, The Rochdale Group, Inc. and/or related credit unions



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 (the “CUSO Receivables”).        The Debtors also transferred title to certain other Student

 Receivables to PEAKS holders and/or related entities (the “PEAKS Receivables”). The Students

 dispute the validity of the PEAKS Receivables, the CUSO Receivables, and all other receivables

 owed by former students of the Debtors that are transferred or returned to the Trustee that are not

 CUSO Receivables or PEAKS Receivables.

        12.     On November 29, 2016, the Court entered the Order Granting Trustee’s Motion

 for an Order Pursuant to Sections 105(a), 363(b), 503(b), 506(a), and 704 of the Bankruptcy

 Code Authorizing (I) Deposit of Student Loan Receivables into a Segregated Account and (II)

 Payment of Collection Fees from Receivables [Doc 680] (the “Collection Order”).                The

 Collection Order authorized the Trustee to pay UAS and FirstSource the fees authorized under

 their respective agreements and further provided the Trustee would establish a segregated

 account with the Bank of Texas into which all amounts collected on Student Receivables would

 be deposited (the “Receivables Segregated Account”) less fees paid to UAS and FirstSource.

 The Trustee has caused to be deposited into the Receivables Segregated Account all collections

 of Student Receivables and will continue to deposit all future collections of Student Receivables

 into the Receivables Segregated Account. As of October 31, 2017, the Receivables Segregated

 Account holds $2,409,953.98, and the Trustee holds three additional, segregated accounts (the

 “Additional Accounts”) in the amount of $378,185.60 and $11,823.10 for ESI Service Corp. and

 Daniel Webster College, Inc., respectively, and an account containing direct student payments to

 ITT in the amount of $43,419.49.

        13.     On January 3, 2017, the Students filed a Class Action Adversary Complaint in

 this Court [Case No. 17-50003] (the “Lawsuit”), and class proofs of claim against each of the

 Debtors [Claim Nos. 284, 347 and 1285] (the “Student POCs”).



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        14.     On January 30, 2017, this Court held a hearing on the Student Claimants’ Motion

 Seeking Class Treatment of Student Creditors’ Claims [Doc 843], which was orally granted and

 which ruling was incorporated into an order entered on the docket on February 2, 2017 [Doc

 1151] (the “Class Treatment Order”). The Class Treatment Order ruled Bankruptcy Rule 7023

 applied to the Student POCs and appointed the Legal Services Center of Harvard Law School

 and Jenner & Block LLP as interim class counsel for the putative class pursuant to Fed. R.

 Bankr. P. 7023 and Fed. R. Civ. P. 23(g)(3).

        15.     On January 30, 2017, the Students amended the Student POCs to each be in the

 amount of $7.3 billion [Claim Nos. 424, 520 and 2383] (as amended, the “Proofs of Claim”). As

 part of this claim amount, the Proofs of Claim also asserted priority under section 507(a) (7) of

 the Bankruptcy Code in the amount of $114,000,000 (the “Students Priority Claim”). The Proofs

 of Claim do not include proofs of claim filed by individual students asserting a claim based on

 dishonored checks issued by ITT to students for, among other similar reasons, Title IV funds

 including Pell grants, student aid funds administered by the Department of Education, or state-

 based student aid funds that were in excess of the tuition owed by the student for completed

 semesters but were disbursed to ITT by the state, federal government, or other entity with the

 intention that ITT act as a pass-through and disburse the funds to the students (“Pass-Through

 Proofs of Claim”). Paula Suite, Freddie Lewis, Ralph Kyle Williams, and Damien R. Dietterick

 have filed Pass-Through Proofs of Claim and that there may be other Pass-Through Proofs of

 Claim that have not yet been identified.

        16.     In the Lawsuit and the Proofs of Claim, the Students allege the Debtors violated

 various consumer protection statutes by engaging in deceptive practices, employing abusive,

 unfair, and deceptive recruiting and retention strategies and financial aid practices, and by falsely



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 obtaining accreditation.     The Students further allege the Debtors breached their enrollment

 contracts with the Students by closing their operations before certain students in the Settlement

 Class could complete their educations and by denying students the benefit of promised post-

 graduation refresher courses and lifetime job placement assistance. The Students further allege

 the Debtors breached the covenants of fair dealing and good faith contained in the enrollment

 contracts and included unconscionable terms in such contracts. The Students sought, among

 other relief, damages including costs and attorneys’ fees, and an order enjoining the collection of

 all private student loans.

           17.     After the Petition Date, the Court entered the Order Granting Trustee’s Motion to

 Suspend Collection of Student Receivables and to Compensate Mark Huber for Services Related

 to Reconciling Student Receivables [Doc 1671] (the “Suspension Order”). The Suspension

 Order authorized the Trustee to direct collection agencies, including UAS, FirstSource, and

 others, to cease collection on all Student Receivables. The Suspension Order also authorized the

 Trustee to retain Mr. Huber to reconcile the Student Receivables accounts and calculate a refund

 to be remitted to students consistent with the Settlement Agreement.

           18.     After engaging in good-faith negotiations and to resolve their disputes, the

 Debtors and the Students agreed to the Settlement Agreement, which provides, among other

 things:

                 a.   Promptly after execution of the Settlement Agreement, the Trustee and Class
                      Representatives will seek entry of a preliminary approval order (the
                      “Preliminary Approval Order”), which would certify the Settlement Class and
                      appoint Class Counsel for the Settlement Class. The Settlement Class shall
                      consist of all individuals who were at any time enrolled in any of the programs
                      offered by the Debtors between January 1, 2006 and the Petition Date. In
                      addition the Preliminary Approval Order will include:

                       i. approval of a notice program to include the Trustee sending mailed
                          notices (in the form of Exhibit 4 to the Agreement) to those former
                          students who filed Student Proofs of Claim, those former students who are

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                    listed as account debtors on the accounts placed for servicing or collection
                    with UAS, FirstSource, Security Credit Systems, Inc., Premiere Credit
                    NA, General Revenue Corporation, and any and all other credit agencies
                    for collection and who have made payments on account of such accounts
                    since the Petition Date, and to those parties who have requested that they
                    receive notice, and providing publication notice. The notice shall, among
                    other things, advise all Students receiving notice that they should
                    immediately cease making any payments on account of the Student
                    Receivables. In addition, the Trustee will post the Student Notice, as
                    defined in the Settlement Agreement, on the Rust Omni website for these
                    Bankruptcy Cases;
                ii. a preliminary finding that the settlement is fair, reasonable, adequate and
                    within the range of possible approval;
                iii. a date for the final approval hearing that complies with the notice
                     requirements of 28 U.S.C. §1715(d);
                iv. approval of those actions required by the Settlement Agreement to take
                    place before the entry of the a final order approving such agreement;
                v. a procedure for Settlement Class members to object to the settlement and
                   to opt out of the Settlement Class; and
                vi. authorization for the Trustee to return all funds in the Receivables
                    Segregated Account and the Additional Accounts consistent with Section
                    6 of the Agreement to the students who made such payments to ITT, UAS,
                    FirstSource, Security Credit Systems, Inc., Premier Credit NA, General
                    Revenue Corporation, and any and all other credit agencies, as the case
                    may be.
           b.   The final order approving the Settlement Agreement (the “Final Approval
                Order”) would provide, among other things:

                 i. approval of the Settlement Agreement as fair, reasonable, adequate, and
                    within the range of possible approval under the standards developed under
                    Rules 9019 and 7023 of the Federal Rules of Bankruptcy Procedure and
                    Rule 23(g) of the Federal Rules of Civil Procedure;
                ii. allowance of the Proofs of Claim against each of the Debtor estates in the
                    amount of $1,500,000,000, which allowance is to be a pre-petition
                    general, unsecured claim no longer subject to objection or challenge, but
                    subject to certain adjustments as set forth in Section 5 of the Agreement;
                    provided that the Proofs of Claim shall not be reduced below the amount
                    of $1,099,896,000, and that the Students Priority Claim is disallowed with
                    prejudice. The Final Approval Order shall provide that the Bankruptcy
                    Court shall retain authority over the division of any distributions made on
                    account of the Proofs of Claim. The Class Representatives shall promptly
                    file a proposed division of any such distributions upon notification from
                    the Trustee of the likely amount of funds to be paid on account of the
                    Proofs of Claim;

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                iii. disallowance with prejudice of the Student Proofs of Claim; provided,
                     however, if the holder of a Student Proof of Claim listed on Exhibit 3 to
                     the Settlement Agreement opts out of the Settlement Class, such holder’s
                     Student Proof of Claim (each an “Opt Out Claim”) will not be disallowed
                     and instead this Court will determine the allowability of such holder’s Opt
                     Out Claim as part of the normal procedures for resolving proofs of claim.
                     Nothing in the Settlement Agreement controls the allowability of a Pass-
                     Through Claim;
                iv. the Trustee (i) agrees that she will not, on her behalf or on behalf of the
                    Debtors’ estates, recover, collect, or enforce any (a) Student Receivables,
                    (b) CUSO Receivables or PEAKS Receivables that, pursuant to an order
                    entered by the Bankruptcy Court, are transferred or returned to the Trustee
                    (a “PEAKS/CUSO Transfer Order”), and (c) other receivables owed by
                    former students of the Debtors that are transferred or returned to the
                    Trustee that are not CUSO Receivables or PEAKS Receivables (“Other
                    Receivables”); and (ii) agrees to a permanent injunction enjoining the
                    collection, assignment or transfer of the Student Receivables and the
                    Other Receivables, and the collection, assignment or transfer of any
                    CUSO Receivables or PEAKS Receivables that, pursuant to a
                    PEAKS/CUSO Transfer Order, are transferred or returned to the Trustee;
                v. a provision that nothing set forth in the Preliminary Approval Order, the
                   Final Approval Order or the Settlement Agreement, in any manner
                   whatsoever, waives, releases, or otherwise affects the Debtors’ and/or the
                   Trustee’s claims, rights, remedies and/or causes of action of every type
                   and nature whatsoever (“Rights”) under or related to the CUSO
                   Receivables, the PEAKS Receivables, any documents or agreements
                   between the Debtors and PEAKS or CUSO, and/or other documents or
                   agreements otherwise related thereto, and all such Rights are fully
                   reserved; and
                vi. a provision that nothing set forth in the Preliminary Approval Order, the
                    Final Approval Order or the Settlement Agreement, in any manner,
                    waives, releases, limits, or otherwise affects claims of the Settlement
                    Class against the Department of Education or the existence or valuation of
                    any claim the Department of Education may assert against Debtors.
           c.   Except for the rights, duties, and obligations created by the Settlement
                Agreement, effective upon the Settlement Effective Date (as defined in the
                Settlement Agreement), the Settlement Class releases and discharges the
                Trustee, as Trustee and in her individual capacity, all professionals engaged
                by the Trustee either on her behalf or on behalf of the Debtors’ estates, and
                their heirs, successors and assigns thereof, from any and all claims, demands,
                obligations, damages, action, or causes of action, in law or in equity, whether
                sounding in tort or contract, or based on federal or state law, and whether
                known or unknown, which the Settlement Class has or may have against the
                Trustee for any reason whatsoever existing prior to or as of the Settlement
                Effective Date. Notwithstanding anything to the contrary in the foregoing,

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                  nothing in this Release (i) releases the Proofs of Claim or (ii) prohibits or
                  prevents the Settlement Class or Class Representatives from participating in
                  the Debtor’s bankruptcy cases or exercising their standing as creditors of the
                  Estate or (iii) prohibits or prevents the Settlement Class or Class
                  Representatives or Class members from asserting any rights, claims or
                  defenses against third parties, including but not limited to, the Department of
                  Education, the directors and officers of the Debtors, and any other entity that
                  is not the Trustee and her successors.

             d.   Except for the rights, duties, and obligations created by the Settlement
                  Agreement, effective upon the Settlement Effective Date, the Trustee on
                  behalf of herself and the Debtors releases and discharges the Settlement Class
                  and all professionals engaged by or on behalf of the Settlement Class, and
                  their heirs, successors, and assigns from any and all claims, demands,
                  obligations, damages, action, or causes of action, in law or in equity, whether
                  sounding in tort or contract, or based on federal or state law, and whether
                  known or unknown, which the Trustee has or may have against the Settlement
                  Class for any reason whatsoever existing prior to or as of the Settlement
                  Effective Date.

             e.   Promptly upon entry of the Preliminary Approval Order, the Trustee shall
                  return all funds in the Receivables Segregated Account and the Additional
                  Accounts and any other funds which come into her possession or control that
                  are received from students to the student who made such payment. The
                  amount returned shall be reduced, pro rata, by the amount deducted from the
                  aggregate of such payments by the collection agencies, including UAS,
                  FirstSource, Security Credit Systems, Inc., Premiere Credit NA, General
                  Revenue Corporation, and reasonable administrative cost associated with
                  returning the funds. The reasonable cost of returning the funds shall be
                  deducted from the Receivables Segregated Account and the Additional
                  Accounts, provided that the Trustee shall use her reasonable best efforts to
                  minimize the cost of returning the funds, and shall consult with the Class
                  Counsel about the costs throughout the process. The Students dispute the
                  validity of all Student Receivables. The Trustee’s refund of the monies in the
                  Receivables Segregated Account and the Additional Accounts does not
                  acknowledge validity of the Student Receivables.



                                       Relief Requested

       19.     The Trustee requests entry of preliminary and final orders, pursuant to sections

 105(a) and 363 of the Bankruptcy Code and Bankruptcy Rule 9019, (a) approving the terms of




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  the Class Action Settlement, and (b) authorizing the Trustee to enter into the Settlement

  Agreement.

                                           Basis for Relief

         20.     A court may authorize a trustee to enter into a settlement so long as it is a sound

  exercise of the trustee’s business judgment. See 11 U.S.C. § 363(b); In re UAL Corp., 443 F.3d

  565, 571 (7th Cir. 2006) (use under section 363 of the Bankruptcy Code must “[make] good

  business sense”); In re Schipper, 933 F.2d 513, 515 (7th Cir. 1991) (section 363 sale involves

  exercise of fiduciary duties and requires an “articulated business justification”); see also In re

  Olde Prairie Block Owners, LLC, 448 B.R. 482, 492 (Bankr. N.D. Ill. 2011) (same). Moreover,

  when applying the “business judgment” standard to a use of estate property under section 363, a

  trustee’s judgment is “entitled to great judicial deference as long as a sound business reason is

  given.” See In re Efoora, Inc., 472 B.R. 481, 488 (Bankr. N.D. Ill. 2012).

         21.     Similarly, Bankruptcy Rule 9019(a) permits a bankruptcy court to approve a

  trustee’s “compromise or settlement” after notice and a hearing, if such settlement is “fair and

  equitable . . . and in the best interests of the bankruptcy estate.” Depoister v. Mary M. Holloway

  Found., 36 F.3d 582, 586 (7th Cir. 1994); see also In re Energy Co-op., Inc., 886 F.2d 921, 927

  (7th Cir. 1989) (“The benchmark for determining the propriety of a bankruptcy settlement is

  whether the settlement is in the best interests of the estate.”); In re Smith, No. 02-16450-JKC-7A,

  2008 WL 4276171, at *2 (Bankr. S.D. Ind. Sept. 10, 2008) (same). Settlements should be

  approved unless “the settlement ‘falls below the lowest point in the range of reasonableness.’”

  In re Commercial Loan Corp., 316 B.R. 690, 698 (Bankr. N.D. Ill. 2004) (quoting Energy Co-

  op., 886 F.2d at 929); In re Doctors Hosp. of Hyde Park, Inc., 474 F.3d 421, 426 (7th Cir. 2007);

  see also In re Artra Grp., Inc., 300 B.R. 699, 702 (Bankr. N.D. Ill. 2003). Settlements and

  compromises are favored in bankruptcy because they expedite case administration and reduce

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  unnecessary administrative costs.      Fogel v. Zell, 221 F.3d 955, 960 (7th Cir. 2000).           In

  determining whether a compromise is in the best interests of the estate, the Court must compare

  “the settlement’s terms with the litigation’s probable costs and probable benefits.” In re Am.

  Reserve Corp., 841 F.2d 159, 161 (7th Cir. 1987); see also Doctors Hosp., 474 F.3d at 426

  (“Among the factors the court considers are the litigation’s probability of success, complexity,

  expense, inconvenience, and delay, including the possibility that disapproving the settlement will

  cause wasting of assets.”) (internal quotation marks and citations omitted); Commercial Loan,

  316 B.R. at 697 (holding that relevant factors a bankruptcy court should consider in approving a

  settlement include “the litigation’s probability of success, its complexity, and its ‘attendant

  expense, inconvenience and delay’” (quoting Am. Reserve Corp., 841 F.2d at 161)).

         22.     Here, the Trustee believes entry into the Settlement Agreement is in the best

  interest of the Debtors’ estates and represents a sound exercise of her business judgment. The

  various disputes between the Debtors, on the one hand, and the Students, on the other, are

  complex, and the outcome of the Lawsuit and related issues, including disputes concerning the

  validity of the Amended Student POCs, is uncertain. Resolution of the Lawsuit and other

  disputes, if litigated, have the potential to, and likely will, prove costly and time-consuming to all

  parties, and absent resolution of the issues covered by the Settlement Agreements, costs

  associated therewith will continue to accrue. Entry into the Settlement Agreement will resolve

  such issues consensually, bringing the Trustee and the Debtors another step closer to resolution

  of the Debtors’ chapter 7 cases.

         23.     For the foregoing reasons, the Trustee has determined, in the exercise of her

  sound business judgment, that the Settlement Agreement is fair, equitable, in the best interest of

  the Debtors’ estates, and well within the range of reasonableness for approval under Bankruptcy



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  Rule 9019(a). Accordingly, the Trustee respectfully submits that the Court should approve the

  Class Action Settlement.

                                               Notice

         24.     Pursuant to the Notice, Case Management and Administrative Procedures (the

  “Case Management Procedures”) approved by this Court on October 4, 2016 [Doc 220], the

  Trustee will serve a copy of the Motion on the following (as defined in the Case Management

  Procedures): (a) the Core Group; (b) the Request for Notice List; and (c) the Appearance List. In

  addition, the Trustee has posted a notice of the hearing on the settlement on the Rust Omni

  website for the Debtors’ cases.

  NOTICE IS GIVEN, that pursuant to the Case Management Procedures, any objection to this
  motion must be in writing and filed with the Bankruptcy Clerk by no later than 4:00 p.m.
  (prevailing Eastern Time) on January 17, 2018. Those not required or not permitted to file
  electronically must deliver any objection by U.S. mail, courier, overnight/express mail or in
  person at:

                                    116 U.S. Courthouse
                                    46 East Ohio Street
                                    Indianapolis, IN 46204

  The objecting party must also serve a copy of the written objection upon the Trustee’s counsel, at
  Counsel for Trustee Deborah J. Caruso, Rubin & Levin, P.C., 135 N. Pennsylvania Street, Suite
  1400, Indianapolis, IN 46204. If an objection is NOT timely filed, the requested relief may
  be granted without a hearing.

  NOTICE IS FURTHER GIVEN that in the event an objection to this motion is timely filed, a
  hearing on this motion and such objection will be conducted on January 24, 2018 at 1:30 p.m.
  (prevailing Eastern time), in Room 325 of the United States Courthouse, 46 East Ohio Street,
  Indianapolis, IN 46204.



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         WHEREFORE, the Trustee respectfully requests entry of the Proposed Orders, granting

  the relief requested herein and granting such other relief as is just and proper.


  Dated: January 3, 2018                                Respectfully submitted,
         Indianapolis, Indiana

  /s/ Jeff J. Marwil                                    /s/ Deborah J. Caruso
  Jeff J. Marwil (admitted pro hac vice)                Deborah J. Caruso (Atty. No. 4273-49)
  Peter J. Young                                        John C. Hoard (Atty. No. 8024-49)
  Jeramy D. Webb                                        James E. Rossow Jr. (Atty. No. 21063-29)
  PROSKAUER ROSE LLP                                    Meredith R. Theisen (Atty. No. 28804-49)
  70 West Madison, Suite 3800                           RUBIN & LEVIN, P.C.
  Chicago, Illinois 60602-4342                          135 N. Pennsylvania Street, Suite 1400
  Telephone: (312) 962-3550                             Indianapolis, Indiana 46204
  Facsimile: (312) 962-3551                             Telephone: (317) 634-0300
                                                        Facsimile: (317) 263-9411
             –and–
                                                        Co-counsel to the Trustee
  Timothy Q. Karcher (admitted pro hac vice)
  Michael T. Mervis
  Jared D. Zajac
  Russell T. Gorkin
  PROSKAUER ROSE LLP
  Eleven Times Square
  New York, New York 10036
  Telephone: (212) 969-3000
  Facsimile: (212) 969-2900

  Co-counsel to the Trustee




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                                  CERTIFICATE OF SERVICE

           I hereby certify that on January 3, 2018, a copy of the foregoing Trustee’s Motion for
  Authority to Enter into Settlement of Student Class Action was filed electronically. Pursuant to
  Section IV.C.3(a) of the Case Management Procedures, notice of this filing will be sent to the
  following parties through the Court’s Electronic Case Filing System. Parties may access this
  filing through the Court’s system.

  John Joseph Allman jallman@hbkfirm.com, dadams@hbkfirm.com
  Robert N Amkraut ramkraut@foxrothschild.com
  Scott S. Anders scott.anders@jordanramis.com, litparalegal@jordanramis.com
  Manuel German Arreaza manuel.arreaza@cfpb.gov
  Todd Allan Atkinson tatkinson@ulmer.com
  Darren Azman dazman@mwe.com
  Joseph E Bain joe.bain@emhllp.com
  Kay Dee Baird kbaird@kdlegal.com, rhobdy@kdlegal.com;crbpgpleadings@kdlegal.com
  Michael I. Baird baird.michael@pbgc.gov, efile@pbgc.gov
  Christopher E. Baker cbaker@hbkfirm.com, thignight@hbkfirm.com
  James David Ballinger jim@kentuckytrial.com, jennifer@kentuckytrial.com
  Joseph E. Bant jebant@lewisricekc.com
  William J. Barrett william.barrett@bfkn.com, mark.mackowiak@bfkn.com
  Ashley Flynn Bartram ashley.bartram@oag.texas.gov, elizabeth.martin@oag.texas.gov
  Alex M Beeman alex@beemanlawoffice.com, alexbeemanECF@protonmail.com
  Thomas M Beeman tom@beemanlawoffice.com
  Richard James Bernard rbernard@foley.com
  John J Berry john.berry@dinsmore.com, Christina.Lee@DINSMORE.COM
  Brandon Craig Bickle bbickle@gablelaw.com
  Robert A. Breidenbach rab@goldsteinpressman.com
  Wendy D. Brewer wbrewer@jensenbrewer.com, info@jeffersonbrewer.com
  Kayla D. Britton kayla.britton@faegrebd.com, rachel.jenkins@faegrebd.com
  Jason R Burke jburke@bbrlawpc.com, kellis@bbrlawpc.com
  Erin Busch ebusch@nebraska.edu
  Kevin M. Capuzzi kcapuzzi@beneschlaw.com,
  lmolinaro@beneschlaw.com;docket@beneschlaw.com
  James E. Carlberg jcarlberg@boselaw.com,
  mwakefield@boselaw.com;rmurphy@boselaw.com
  Steven Dean Carpenter scarpenter1@dor.in.gov
  Deborah Caruso dcaruso@rubin-levin.net, dwright@rubin-levin.net;jkrichbaum@rubin-
  levin.net;atty_dcaruso@bluestylus.com
  Deborah J. Caruso trusteecaruso@rubin-levin.net, DJC@trustesolutions.net
  Joshua W. Casselman jcasselman@rubin-levin.net, angie@rubin-
  levin.net;atty_jcasselman@bluestylus.com
  Ben T. Caughey ben.caughey@mcdlegalfirm.com
  Sonia A. Chae chaes@sec.gov
  John Andrew Chanin jchanin@lindquist.com, srummery@lindquist.com
  Eboney Delane Cobb ecobb@pbfcm.com


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  Michael Edward Collins mcollins@manierherod.com
  Michael Anthony Collyard mcollyard@robinskaplan.com, rhoule@robinskaplan.com
  Eileen Connor econnor@law.harvard.edu
  Lawrence D. Coppel lcoppel@gfrlaw.com
  Heather M. Crockett Heather.Crockett@atg.in.gov,
  carrie.spann@atg.in.gov;molly.funk@atg.in.gov;kenyatta.peerman@atg.in.gov
  J Russell Cunningham rcunningham@dnlc.net, reaster@dnlc.net
  David H DeCelles david.h.decelles@usdoj.gov
  Dustin R. DeNeal dustin.deneal@faegrebd.com, rachel.jenkins@faegrebd.com
  Laura A DuVall Laura.Duvall@usdoj.gov, Catherine.henderson@usdoj.gov
  Henry A. Efroymson henry.efroymson@icemiller.com
  Abby Engen aengen@nmag.gov, eheltman@nmag.gov
  Annette England annette.england@btlaw.com
  Charles Anthony Ercole cercole@klehr.com, acollazo@klehr.com
  Carolyn Meredith Fast carolyn.fast@ag.ny.gov
  Elaine Victoria Fenna elaine.fenna@morganlewis.com
  Andrew W Ferich awf@chimicles.com
  Patrick F.X. Fitzpatrick pfitzpatrick@beneschlaw.com,
  docket@beneschlaw.com;sgarsnett@beneschlaw.com;ccanny@beneschlaw.com;mdabio@benes
  chlaw.com
  John David Folds dfolds@bakerdonelson.com, sparson@bakerdonelson.com
  Jennifer N Fountain jfountain@iislaw.com, sfilippini@iislaw.com
  Sarah Lynn Fowler Sarah.Fowler@icemiller.com, Kathy.chulchian@icemiller.com
  Lydia Eve French lydia.french@state.ma.us
  Jonathan William Garlough jgarlough@foley.com, mstockl@foley.com;mdlee@foley.com
  Robert P Goe rgoe@goeforlaw.com
  Douglas Gooding dgooding@choate.com
  John Andrew Goodridge jagoodridge@jaglo.com, angray@jaglo.com;dwhiggs@jaglo.com
  Michael Wayne Grant michael.w.grant@doj.state.or.us
  Alan Mark Grochal agrochal@tydingslaw.com
  Gregory Forrest Hahn ghahn@boselaw.com, jmcneeley@boselaw.com
  Julian Ari Hammond Jhammond@hammondlawpc.com, ppecherskaya@hammondlawpc.com
  Wallace M Handler whandler@swappc.com, jnicholson@swappc.com
  Adam Craig Harris adam.harris@srz.com
  Brian Hauck bhauck@jenner.com
  Jeffrey M. Hawkinson jhawkinson@pcslegal.com, danderson@pcslegal.com
  Claude Michael Higgins Michael.Higgins@ag.ny.gov
  Michael W. Hile mhile@jacobsonhile.com, assistant@jacobsonhile.com
  Sean M Hirschten shirschten@psrb.com
  Robert M. Hirsh robert.hirsh@arentfox.com
  John C. Hoard johnh@rubin-levin.net, jkrichbaum@rubin-
  levin.net;atty_jch@trustesolutions.com
  Andrew E. Houha bkecfnotices@johnsonblumberg.com
  James C Jacobsen jjacobsen@nmag.gov, eheltman@nmag.gov
  Christine K. Jacobson cjacobson@jacobsonhile.com, assistant@jacobsonhile.com
  Jay Jaffe jay.jaffe@faegrebd.com, rachel.jenkins@faegrebd.com


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  Benjamin F Johns bfj@chimicles.com, klw@chimicles.com
  Russell Ray Johnson russj4478@aol.com
  Kenneth C. Jones kcjones@lewisricekc.com
  Anthony R. Jost tjost@rbelaw.com, baldous@rbelaw.com
  Timothy Q. Karcher tkarcher@proskauer.com
  John M. Ketcham jketcham@psrb.com, scox@psrb.com
  Taejin Kim tae.kim@srz.com
  Edward M King tking@fbtlaw.com, lsugg@fbtlaw.com;tking@ecf.inforuptcy.com
  Roy F. Kiplinger bankruptcy@kiplingerlaw.com, bankruptcy@kiplingerlaw.com
  James A. Knauer jak@kgrlaw.com, tjf@kgrlaw.com
  Kevin Dale Koons kkoons@kgrlaw.com, smr@kgrlaw.com
  Harris J. Koroglu hkoroglu@shutts.com, fsantelices@shutts.com
  Lawrence Joel Kotler ljkotler@duanemorris.com
  Robert R Kracht rrk@mccarthylebit.com
  Andrew L. Kraemer akraemer@johnsonblumberg.com, akraemerlawoffice@att.net
  David R. Krebs dkrebs@hbkfirm.com, dadams@hbkfirm.com
  Jerrold Scott Kulback jkulback@archerlaw.com
  Jay R LaBarge jlabarge@stroblpc.com
  Vilda Samuel Laurin slaurin@boselaw.com
  Jordan A Lavinsky jlavinsky@hansonbridgett.com
  David S Lefere dlefere@mikameyers.com, jfortney@mikameyers.com
  Martha R. Lehman mlehman@salawus.com,
  marthalehman87@gmail.com;pdidandeh@salawus.com;lengle@salawus.com
  Gary H Leibowitz gleibowitz@coleschotz.com,
  jdonaghy@coleschotz.com;pratkowiak@coleschotz.com
  Donald D Levenhagen dlevenhagen@landmanbeatty.com
  Elizabeth Marie Little elizabeth.little@faegrebd.com
  Melinda Hoover MacAnally Melinda.MacAnally@atg.in.gov,
  Carrie.Spann@atg.in.gov;Kenyatta.Peerman@atg.in.gov
  Christopher John Madaio Cmadaio@oag.state.md.us
  John A. Majors jam@morganandpottinger.com, majormajors44@yahoo.com
  Steven A. Malcoun dsmith@mayallaw.com
  Jonathan Marshall jmarshall@choate.com
  Thomas Marvin Martin tmmartin@lewisricekc.com
  Jeff J. Marwil jmarwil@proskauer.com,
  npetrov@proskauer.com;pyoung@proskauer.com;jwebb@proskauer.com
  Richard J Mason rmason@mcguirewoods.com
  Patrick Francis Mastrian Patrick.mastrian@ogletreedeakins.com,
  dayna.kistler@ogletreedeakins.com
  Ann Wilkinson Matthews amatthews@ncdoj.gov
  Rachel Jaffe Mauceri rachel.mauceri@morganlewis.com
  Michael K. McCrory mmccrory@btlaw.com, bankruptcyindy@btlaw.com
  Maureen Elin McOwen molly.mcowen@cfpb.gov
  Harley K Means hkm@kgrlaw.com, kmw@kgrlaw.com;cjs@kgrlaw.com;tjf@kgrlaw.com
  Toby
  Merrill tomerrill@law.harvard.edu,jjimenez@law.harvard.edu,thoffman@law.harvard.edu


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  Robert W. Miller rmiller@manierherod.com
  Thomas E Mixdorf thomas.mixdorf@icemiller.com, carla.persons@icemiller.com
  Evgeny Grigori Mogilevsky eugene@egmlegal.com, jolynn@egmlegal.com
  James P Moloy jmoloy@boselaw.com,
  dlingenfelter@boselaw.com;mwakefield@boselaw.com
  Ronald J. Moore Ronald.Moore@usdoj.gov
  Hal F Morris hal.morris@oag.texas.gov
  Michael David Morris michael.morris@ago.mo.gov
  Kevin Alonzo Morrissey kmorrissey@lewis-kappes.com, soliver@lewis-
  kappes.com;leckert@lewis-kappes.com;kwilliams@lewis-kappes.com
  Whitney L Mosby wmosby@bgdlegal.com, floyd@bgdlegal.com;smays@bgdlegal.com
  C Daniel Motsinger cmotsinger@kdlegal.com,
  cmotsinger@kdlegal.com;crbpgpleadings@kdlegal.com;shammersley@kdlegal.com
  Lee Duck Moylan lmoylan@klehr.com, acollazo@klehr.com
  Abraham Murphy murphy@abrahammurphy.com
  Justin Scott Murray jmurray@atg.state.il.us
  Alissa M. Nann anann@foley.com, DHeffer@foley.com
  Henry Seiji Newman hsnewman@dglaw.com
  Kevin M. Newman knewman@menterlaw.com, kmnbk@menterlaw.com
  Cassandra A. Nielsen cnielsen@rubin-levin.net, atty_cnielsen@bluestylus.com,lking@rubin-
  levin.net
  Ryan Charles Nixon rcnixon@lamarcalawgroup.com
  Kathryn Elizabeth Olivier kathryn.olivier@usdoj.gov,
  denise.woody@usdoj.gov;kristie.baker@usdoj.gov
  Gregory Ostendorf gostendorf@scopelitis.com, agregory@scopelitis.com
  Pamela A. Paige ppaige@plunkettcooney.com, amiller@plunkettcooney.com
  Danielle Ann Pham danielle.pham@usdoj.gov
  Zachary David Price zach@indianalawgroup.com
  Jack A Raisner jar@outtengolden.com
  Jonathan Hjalmer Reischl jonathan.reischl@cfpb.gov
  James Leigh Richmond James.Richmond@fldoe.org
  Melissa M. Root mroot@jenner.com
  David A. Rosenthal darlaw@nlci.com
  James E Rossow jim@rubin-levin.net, ATTY_JER@trustesolutions.com;robin@rubin-
  levin.net;lisa@rubin-levin.net
  Rene Sara Roupinian rsr@outtengolden.com,
  jxh@outtengolden.com;kdeleon@outtengolden.com;rmasubuchi@outtengolden.com;rfisher@ou
  ttengolden.com;gl@outtengolden.com
  Victoria Fay Roytenberg vroytenberg@law.harvard.edu, jjimenez@law.harvard.edu
  Steven Eric Runyan ser@kgrlaw.com
  Craig Damon Rust craig.rust@doj.ca.gov, Lindsay.Bensen@doj.ca.gov
  Karl T Ryan kryan@ryanesq.com, lindsey@ryanesq.com
  Joseph Michael Sanders jsanders@atg.state.il.us
  Thomas C Scherer tscherer@bgdlegal.com, floyd@bgdlegal.com
  James R. Schrier jrs@rtslawfirm.com, lrobison@rtslawfirm.com;jlandes@rtslawfirm.com
  Ronald James Schutz rschutz@robinskaplan.com


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  H. Jeffrey Schwartz jschwartz@robinskaplan.com
  Courtney Michelle Scott cscott1@dor.in.gov
  Joseph E Shickich jshickich@foxrothschild.com, vmagda@foxrothschild.com
  William E Smith wsmith@k-glaw.com, clipke@k-glaw.com
  Lauren C. Sorrell lsorrell@kdlegal.com, ayeskie@kdlegal.com;swaddell@kdlegal.com
  Catherine L. Steege csteege@jenner.com, mhinds@jenner.com;thooker@jenner.com
  Jesse Ellsworth Summers esummers@burr.com, sguest@burr.com
  Jonathan David Sundheimer jsundheimer@btlaw.com
  Nancy K. Swift nswift@buchalter.com, cbohnsack@buchalter.com
  Eric Jay Taube eric.taube@wallerlaw.com,
  annmarie.jezisek@wallerlaw.com;sherri.savala@wallerlaw.com
  Meredith R. Theisen mtheisen@rubin-levin.net, dwright@rubin-levin.net;mcruser@rubin-
  levin.net
  Meredith R. Theisen mtheisen@rubin-levin.net,
  atty_mtheisen@bluestylus.com;mralph@rubin-levin.net
  Jessica L Titler jt@chimicles.com
  Todd Christian Toral todd.toral@dlapiper.com, todd-toral-9280@ecf.pacerpro.com
  Ronald M. Tucker rtucker@simon.com, cmartin@simon.com,bankruptcy@simon.com
  U.S. Trustee ustpregion10.in.ecf@usdoj.gov
  Michael Ungar MUngar@mwe.com
  Sally E Veghte sveghte@klehr.com, acollazo@klehr.com
  Rachel Claire Verbeke rverbeke@stroblpc.com
  Amy L VonDielingen avondielingen@woodmclaw.com
  Carolyn Graff Wade Carolyn.G.Wade@doj.state.or.us
  Louis Hanner Watson louis@watsonnorris.com
  Jeffrey R. Waxman jwaxman@morrisjames.com,
  jdawson@morrisjames.com;wweller@morrisjames.com
  Christine M.H. Wellons christine.wellons@maryland.gov
  Philip A. Whistler philip.whistler@icemiller.com, carla.persons@icemiller.com
  Bradley Winston bwinston@winstonlaw.com, lwheaton@winstonlaw.com
  Brandon Michael Wise bwise@prwlegal.com
  Cathleen Dianne Wyatt cwyatt@fbtlaw.com, tacton@fbtlaw.com
  Joseph Yar jyar@nmag.gov, eheltman@nmag.gov
  James T Young james@rubin-levin.net, lking@rubin-
  levin.net;atty_young@bluestylus.com;mralph@rubin-levin.net
  James E. Zoccola jzoccola@lewis-kappes.com

         I further certify that on January 3, 2018, pursuant to Section IV.C.3(c) of the Case
  Management Procedures, a copy of the foregoing Trustee’s Motion for Authority to Enter into
  Settlement of Student Class Action was emailed to the following:

  Arlington ISD/Richardson ISD: Eboney Cobb at ecobb@pbfcm.com
  CEC Red Run, LLC: Alan M. Grochal at agrochal@tydingslaw.com
  SWRE Deal V Building, LLC: Paul Weiser at pweiser@buchalter.com
  Tarrant County/Dallas County: Elizabeth Weller at dallas.bankruptcy@publicans.com
  Northwest Natural Gas Company: Ashlee Minty at Ashlee.Minty@nwnatural.com


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  Solar Drive Business, LLC: Chris W. Halling at challing@hallingmeza.com
  Market-Turk Company: Jordan A. Lavinsky at jlavinsky@hansonbridgett.com
  Taxing Authority for Harris County, Texas: John P. Dillman at houston_bankruptcy@lgbs.com
  Texas Comptroller of Public Accounts: Rachel Obaldo at rachel.obaldo@oag.texas.gov
  Clear Creek Independent School District: Carl O. Sandin at csandin@pbfcm.com
  Synchrony Bank: Recovery Management Systems Corporation at claims@recoverycorp.com
  Bexar County: Don Stecker at sanantonio.bankruptcy@publicans.com
  SWRE Deal V Building, LLC: Nancy K. Swift at nswift@buchalter.com
  TN Dept. of Revenue: Michael Willey at michael.willey@ag.tn.gov
  Florida Department of Education: Benman D. Szeto at benman.szeto@fldoe.org
  Last Second Media, Inc.: T. Todd Egland at tegland@beldenblaine.com
  Hung Duong: Kevin Schwin at kevin@schwinlaw.com
  Travis County: Kay D. Brock at kay.brock@traviscountytx.gov
  Able Building Maintenance: Scott D. Fink at bronationalecf@weltman.com
  Marathon Ventures, LLC: Daniel M. Karger at kargerlaw@gmail.com
  Oklahoma County Treasurer: Tammy Jones at tammy.jones@oklahomacounty.org
  JM Partners LLC: John Marshall at jmarshall@jmpartnersllc.com

                                                                         /s/ Deborah J. Caruso
                                                                         Deborah J. Caruso

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